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AuMIM: USAO#2017R00771

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IN THE UNITED STATES DISTRICT COURT |=

FOR THE DISTRICT OF MARYEAND! 7 PH [2:29

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UNITED STATES OF AMERICA

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v. * CY nent eran
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(Theft of mail matter by officer or

LYNNITA LOVELY, ~ employee, 18 U.S.C. § 1709)
Defendant. *
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INDICTMENT
COUNTS ONE AND TWO

 

(Theft of mail matter by officer or employee)
The Grand Jury for the District of Maryland charges that:
On or about the dates identified below, in the District of Maryland, the defendant,
LYNNITA LOVELY,

being a Postal Service officer or employee, did embezzle any letter, postal card, package, bag, and
mail, and any article and thing contained therein entrusted to her and which came into her
possession intended to be conveyed by mail, and carried and delivered by any carrier, messenger,
agent, and other person employed in any department of the Postal Service, and forwarded through
and delivered from any post office and station thereof established by authority of the Postmaster
General and of the Postal Service, and did steal, abstract, and remove from any such letter,

package, bag, and mail, any article or thing contained therein.
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Count <:|D
One September 28, 2017
Two October 5, 2017
18 U.S.C. § 1709
Robert K. Hur —
United States Attorney
ATRUEBILL:, ;
SIGNATURE REDACTED Mt 2009
Foreperson” , ~ Date “
